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UNITED STATES DISTRICT COURT
IN THE EASTERN DISTRICT OF MICHIGAN
NORTHERN DIVISION

KATHLEEN A. LORENTZEN,
CASE NO. l : l 8-cv-l 1507-TLL-PTM
Plaintiff, HON. Thomas L. Ludington

V.

HEALTHSOURCE SAGINAW, INC.,
MARK E. KRAYNAK, and MARK
PUCKETT

Defendants.

 

MOTION TO EXTEND TIME

Pursuant to Federal Rule of Civil Procedure 16(b)(4), Eastern District of
Michigan Local Rule 7.1, this Court’s Practice Guidelines, and any other
applicable rule or laW, Plaintiff requests a time extension for all non-expired dates
contained Within the Case Managernent and Scheduling Order (ECF No. 13).
Plaintiff requests an extension for a period of sixty (60) days. Plaintiff sought
concurrence from defendants for the relief sought herein but has not yet received it.
Plaintiff asserts that unanticipated and unforeseen circumstances have arisen
necessitating the extension and respectfully requests that this court grant the relief
sought by this motion. Wherefore, Plaintiff respectfully request that this Court

grant the relief

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sought herein and extend by sixty (60) days all previously scheduled dates Within
the Case Management and Scheduling Order.
Respectfully submitted, this llth day of Decernber, 2018.
THOMAS MORE LAW CENTER

By: s/ Brandon M. Bolling

24 Frank Lloyd Wright Drive, Suite J 3200
Ann Arbor, Michigan 48106

Telephone (248)827-2001
bbolling@thomasmore.org

Counselfor Plaintij‘

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CERTIFICATE OF SERVICE

lt is hereby certified that on that on this date the foregoing document Was
filed With the Court’s CM/ECF system, Which Will send notice of such filing to
counsel for all parties of record. As noted beloW, all parties to this action have
counsel of record Who have entered Appearances With this Court and upon Whom
service of this document Will be made via the Court’s CM/ECF system.
Additionally, parties may access this document through the Court’s CM/ECF
system.
Date: December ll, 2018

s/Brandon M. Bolling

THOMAS MORE LAW CENTER
Counselfor Plctz`ntz'jjf

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UNITED STATES DISTRICT COURT
IN THE EASTERN DISTRICT OF MICHIGAN
NORTHERN DIVISION

KATHLEEN A. LORENTZEN,
CASE NO. l:lS-cv-l 1507-TLL-PTM
Plaintiff, HON. Thomas L. Ludington

V.

HEALTHSOURCE SAGINAW, INC.,
MARK E. KRAYNAK, and MARK
PUCKETT

Defendants.

 

BRIEF IN SUPPORT OF MOTION TO EXTEND TIME

Pursuant to Federal Rule of Civil Procedure 16(b)(4), Eastem District of
Michigan Local Rule 7.l, this Court’s Practice Guidelines, and any other
applicable rule or law, Plaintiff requests a time extension for all non-expired dates
contained Within the Case Management and Scheduling Order (ECF No. 13).
Plaintiff requests an extension for a period of sixty (60) days. Plaintiff sought
concurrence from defendants for the relief sought herein but has not yet received it.
Plaintiff asserts that unanticipated and unforeseen circumstances have arisen
necessitating the extension and respectfully requests that this court grant the relief

sought by this motion.

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LEGAL AND FACTUAL BACKGR()UND

l. Fedo R. Civ. Pro. l6(b)(4) informs that “[a] schedule may be modified only
for good cause and With the judge’s consent.”

2. Furthermore, this Court’s Practice Guidelines Motion Practice Rule No. 2,
indicates that “. .. [p]arties seeking an extension should explain With
specificity the unanticipated or unforeseen circumstances necessitating the
extension and should set forth a timetable for the completion of the tasks for
Which the extension is sought.”

3. Plaintiff asserts that good cause exists, related to various unanticipated and
unforeseen circumstances necessitating the extension, for this Court to
consent to it.

4. A reasonable timetable for the completion of the tasks for Which the
extension is sought is sixty (60) days.

5. On August 23, 2018, Tyler Brooks, a staff attorney at the Thomas More LaW
Center (“TMLC”), along With defense counsel, submitted a Case Summary
and Joint Proposed Discovery Plan related to litigation of this matter. (ECF
No. 12).

6. On August 24, 2018, this Court issued a Case Management and Scheduling
Order, setting forth litigation deadlines in this matter, Which Was based upon
the Case Summary and Joint Proposed Discovery Plan submitted by the

paities. (ECF No. 13).

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7. On August 27, 2018, Mr. Brooks provided notice to TMLC that he was
terminating his employment there effective September 7, 2018. This notice
Was very unexpected and Was given by Mr. Brooks less than one year after
he began Working at TMLC.

8. Mr. Brooks Was hired by TMLC, primarily, based upon his expertise in
handling employment law matters. As such, upon entering an attorney-client
relationship With Plaintiff, TMLC assigned Mr. Brooks as counsel
responsible for handling Plaintiff’ s claims_Which are rooted in employment
laW.

9. Thereafter, consistent With the Michigan Rules of Professional Conduct,
Plaintiff Was afforded an opportunity for continued representation by Mr.
Brooks, for continued representation by TMLC, and the opportunity to
pursue outside counsel for her continued representation

10.0n October 12, 2018, Plaintiff notified TMLC that she Wanted to be
represented by TMLC in this matter, With the stipulation that TMLC affiliate
With an attorney experienced in litigating employment law matters.

1 1.Accordingly, consistent With Plaintiff’ s request, TMLC immediately began
attempting to associate With an employment law attorney. Concurrently,
TMLC assigned Plaintiff’ s matter to TMLC staff attorney, Brandon Bolling,

Who entered his appearance the same day. (ECF No. 16).

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12.While TMLC attempted to associate with an employment law attorney, Mr.
Bolling worked diligently to protect Plaintiff s interests and to comply with
the Case Management and Scheduling Order. (ECF N(). 13).

13.Since October 12, 2018, upon notification by Plaintiff that TMLC would
continue as her counsel, TMLC has unsuccessfully attempted to associate
with an employment law attorney. On three occasions, an employment law
attorney has agreed to affiliate with TMLC to assist with the litigation of
Plaintiff’s claims. However, each attorney had to remove themselves from
consideration following a conflict of interest check revealing that their firms
had previously provided legal advice to defendants and/or entities affiliated
with defendants

14.0n December 6, 2018, the latest employment law attorney who had agreed
to affiliate with the TMLC removed himself from further consideration
following a conflict check.

15.Since December 6, 2018, TMLC has continued to attempt to associate with
an employment law attorney.

16. Additionally, Plaintiff suffers from a medical condition that requires
monthly week-long treatments at the Mayo Clinic, in Rochester, Minnesota.
Plaintiff’ s medical treatments cover a period of five days, with a travel day
on the front and back end of each session. Plaintiff’s absence due to her

medical condition has hindered TMLC in completing Defendants’

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outstanding discovery requests as well as securing an expert witness related
to calculating her economic damages

17 .TMLC has continued to do its best to advance Plaintiff’s claims consistent
with the Case Management and Scheduling Order; however, based upon the
latest conflict foreclosing the association of an employment law attorney, as
well as Plaintiff’ s treatment at the Mayo Clinic from December 9 - 15, 2018,
TMLC needs additional time to meet its obligations under the Case
Management and Scheduling Order.

18.An extension of time will also ensure that Defendants are not prejudiced by
the unusual circumstances herein stemming from the unexpected departure
of Mr. Brooks from TMLC, the unusual existence of conflicts of interest for
several attorneys otherwise willing to associate with TMLC to litigate this

matter, and Plaintiff’ s medical condition and treatment plan.

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Wherefore, Plaintiff respectfully request that this Court grant the relief
sought herein and extend by sixty (60) days all previously scheduled dates within
the Case Management and Scheduling Order.

Respectfully submitted, this llth day of December, 2018.
THOMAS MORE LAW CENTER

By: s/ Brandon M. Bolling

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Counselfor Plainti]jf

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CERTIFICATE OF SERVICE

lt is hereby certified that on that on this date the foregoing document was
filed with the Court’s CM/ECF system, which will send notice of such filing to
counsel for all parties of record. As noted below, all parties to this action have
counsel of record who have entered Appearances with this Court and upon whom
service of this document will be made via the Court’s CM/ECF system.
Additionally, parties may access this document through the Court’s CM/ECF
system.
Date: December ll, 2018

S/Brandon M. Bolling

THOMAS MORE LAW CENTER
Counselfor Plaintiij

